     Case 19-34655         Doc 12 Filed 12/31/19 Entered 12/31/19 11:35:52                Desc Main
                                   Document     Page 1 of 31
                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION


In re:                                                  Chapter 7
Randall Maday,
                                                        Case No. 19-34655

                 Debtor.                                Hearing on __________________
                                                                     January 9, 2020  at 10:00 a.m.



                                          NOTICE OF MOTION

                                       January 9, 2020
         PLEASE TAKE NOTICE that on _____________________ at 10:00 a.m., or as soon thereafter as
 counsel may be heard, I shall appear before the Honorable Judge LaShonda A. Hunt or any judge sitting in
 her stead, in the courtroom usually occupied by her in Room 719 at Everett McKinley Dirksen United States
 Courthouse, 219 South Dearborn Street, Chicago, IL 60604, and moved to present the attached motion.


                                                                         /s/ Diana Carpintero


                                     CERTIFICATE OF SERVICE


         I hereby certify that on _____________________,
                                            December 31 2019, a copy of the foregoing Motion and
  accompanying Notice of Motion was filed electronically. Notice of this filing will be sent to the following
  parties through the Court’s Electronic Case Filing System. Parties may access this filing through the
  Court’s system.

 David M. Siegel
 o/b/o Debtor Randall Maday
 davidsiegelbk@gmail.com

 Deborah Kanner Ebner
 Trustee
 dkebner@debnertrustee.com

 Patrick S. Layng
 U.S. Trustee
 USTPRegion11.ES.ECF@usdoj.gov
  Case 19-34655         Doc 12    Filed 12/31/19 Entered 12/31/19 11:35:52        Desc Main
                                   Document     Page 2 of 31


       I further certify that on December _____,
                                           31 2019, a copy of the foregoing Motion and accompanying
Notice of Motion was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

Randall Maday
1122 W. Wing Street
Arlington Heights, IL 60005

                                                         /s/ Diana Carpintero
                                                         Diana Carpintero




Marinosci Law Group
134 N. LaSalle, Suite 1900
Chicago, IL 60602
312-940-8580; Fax: 401-234-5130
ILWIBK@mlg-defaultlaw.com
     Case 19-34655         Doc 12  Filed 12/31/19 Entered 12/31/19 11:35:52              Desc Main
                                    Document     Page 3 of 31
                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION


In re:                                                  Chapter 7
Randall Maday,
                                                        Case No. 19-34655

                 Debtor.                                Hearing on ________________
                                                                     January 9, 2020 at 10:00 a.m.



          MOTION FOR RELIEF FROM AUTOMATIC STAY (REAL PROPERTY)

     BANK OF AMERICA, N.A., (“Movant”) hereby moves this Court, pursuant to 11 U.S.C. § 362,

 for relief from the automatic stay with respect to certain real property of the Debtor having an address

 of 1122 W. Wing St., Arlington Heights, IL 60005 (the “Property”). The Required Statement is

 attached hereto as Exhibit 1, in accordance with Local Rule 4001-1. In further support of this Motion,

 Movant respectfully states:

         1.       A petition under Chapter 7 of the United States Bankruptcy Code was filed with

 respect to the Debtor on December 9, 2019.

         2.       The Debtor has executed and delivered or is otherwise obligated with respect to that

 certain promissory note in the original principal amount of $376,147.00 (the “Note”). A copy of the

 Note is attached hereto as Exhibit 2. Movant is an entity entitled to enforce the Note.

         3.       Pursuant to that certain Mortgage (the “Mortgage”), all obligations (collectively, the

 “Obligations”) of the Debtor under and with respect to the Note and the Mortgage are secured by the

 Property. A copy of the Mortgage is attached hereto as Exhibit 3.

         4.       As of December 18, 2019, the outstanding amount of the Obligations is: $320,739.49.

         5.       In addition to the other amounts due to Movant reflected in this Motion, as of the date

 hereof, in connection with seeking the relief requested herein, Movant has also incurred $750.00 in

 legal fees and $181.00 in costs. Movant reserves all rights to seek an award or allowance of such fees
   Case 19-34655        Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52 Desc Main
                                  Document        Page 4 of 31
and expenses in accordance with applicable loan documents and related agreements, the Bankruptcy

Code and otherwise applicable law.

       6.       The following chart sets forth the number and amount of payments due pursuant to the

terms of the Note that have been missed by the Debtor:

 Number of               From           To               Monthly             Total Amounts
 Missed/Delinquent                                       Payment             Delinquent
 Payments                                                Amount

            4            9/1/2019       12/1/2019        $2,135.73           $8,542.92


                                                                     Total: $8,542.92

       7.       The estimated market value of the Property is $680,920.00. The basis for such

valuation is the Cook County Assessor’s Office estimated 2019 market value. A copy of the Cook

County Assessor’s Office estimated 2019 market valuation is attached hereto as Exhibit 4.

       8.       Upon information and belief, the aggregate amount of encumbrances on the Property

listed in the Schedules or otherwise known, including but not limited to the encumbrances granted to

Movant, is $420,239.49.

       9.       Cause exists for relief from the automatic stay for the following reasons:

            (a) Movant’s interest in the Property is not adequately protected.

       WHEREFORE, Movant prays that this Court issue an Order terminating or modifying the stay

and granting the following:

       1.       Relief from the stay allowing Movant (and any successors or assigns) to proceed under

applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the

Property.

       2.       That the Order be binding and effective despite any conversion of this bankruptcy case

to a case under any other chapter of Title 11 of the United States Code.

       3.       That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived
   Case 19-34655         Doc 12     Filed 12/31/19 Entered 12/31/19 11:35:52      Desc Main
                                      Document       Page 5 of 31
        4.      For such other relief as the Court deems proper.



        Dated: _____________________
                December 31, 2019

                                                        Respectfully submitted,

                                                        /s/ Diana Carpintero
                                                        Attorney for Movant

        MLG File No.: 19-13001
        BK Case No.: 19-34655




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Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 6 of 31




         EXHIBIT 1
     Case 19-34655             Doc 12       Filed 12/31/19 Entered 12/31/19 11:35:52                     Desc Main
                                             Document     Page 7 of 31

                                             REQUIRED STATEMENT
                              TO ACCOMPANY MOTIONS FOR RELIEF FROM STAY

All Cases: Debtor(s) ________________________________________ Case No. _______________ Chapter _____

All Cases: Moving Creditor ____________________________________________ Date Case Filed ____________

Nature of Relief Sought:        Lift Stay          Annul Stay       Other (describe) ___________________________

Chapter 13: Date of Confirmation Hearing ______________________ or Date Plan Confirmed ________________

Chapter 7:    No-Asset Report Filed on ______________________________
              No-Asset Report not Filed, Date of Creditors Meeting ___________________________________

         Collateral
                          Home
                          Car Year, Make, and Model ___________________________________________
                          Other (describe)______________________________________________________

         Balance Owed as of                 $ _________________________
         Total of all other Liens against Collateral $_____________________

         In chapter 13 cases, if a post-petition default is asserted in the motion, attach a payment history listing the
         amounts and dates of all payments received from the debtor(s) post-petition.

         Estimated Value of Collateral (must be supplied in all cases) $ ___________________________

         Default
         a.          Pre-Petition Default
                   Number of months _____                Amount $ _____________________

         b.               Post-Petition Default
                   i.              On direct payments to the moving creditor
                                Number of months _____            Amount $ _____________________

                   ii.           On payments to the Standing Chapter 13 Trustee
                               Number of months _____          Amount $ _____________________

6.       Other Allegations
         a.           Lack of Adequate Protection § 362(d)(1)
                 i.           No insurance
                 ii.          Taxes unpaid           Amount $ _____________________
                 iii.         Rapidly depreciating asset
                 iv.          Other (describe) _______________________________________________________

         b.               No Equity and not Necessary for an Effective Reorganization § 362(d)(2)

         c.               Other “Cause” § 362(d)(1)
                   i.             Bad Faith (describe)____________________________________________________
                   ii.            Multiple Filings
                   iii.           Other (describe) _______________________________________________________

         d.        Debtor’s Statement of Intention regarding the Collateral
                   i.   Reaffirm ii        Redeem iii.         Surrender iv.          No Statement of Intention Filed

Date: _____________________________                      _______________________________________________
                                                                        Counsel for Movant
(Rev. 12 /21/09)
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 8 of 31




       EXHIBIT 2
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 9 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 10 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 11 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 12 of 31




       EXHIBIT 3
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 13 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 14 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 15 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 16 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 17 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 18 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 19 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 20 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 21 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 22 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 23 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 24 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 25 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 26 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 27 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 28 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 29 of 31




       EXHIBIT 4
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 30 of 31
Case 19-34655   Doc 12   Filed 12/31/19 Entered 12/31/19 11:35:52   Desc Main
                          Document     Page 31 of 31
